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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
MARLON SAMPSON,
                                   Plaintiff,                          19   CIVIL 6270 (P AE)(SN)

                 -against-                                                   JUDGMENT

ANDREW M. SAUL, Commissioner of Social
Security,
                     Defendant.
-----------------------------------------------------------X



        It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion & Order dated October 16, 2020, the Report is adopted in full. The

Commissioner's motion for judgment on the pleadings is granted, and Mr. Sampson's motion is

denied; accordingly, the case is closed.

Dated: New York, New York
       October 16, 2020


                                                                     RUBY J. KRAJICK

                                                                       Clerk of Court
                                                               BY:

                                                                       ~
